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 AO 450 (Rev. 01/09)   Judgment in a Civil Action



                           UNITED STATES DISTRICT COURT
                                                       for the
                                            Northern District of Indiana

PERRY GORDON

        Plaintiff(s)
                v.                                                  Civil Action No. 2:16-cv-35

FRIENDS OF THE GARY PUBLIC LIBRARY INC.
 also known as
 Gary Public Library The TERMINATED: 02/16/2017
BOARD OF TRUSTEES OF FRIENDS OF THE
 GARY PUBLIC LIBRARY INC. TERMINATED: 02/16/2017
DIANA MORROW
OTIS RICHARDSON TERMINATED: 02/16/2017
SADIE SHEFFIELD TERMINATED: 02/16/2017
MARYANN CANTY-REEDUS TERMINATED: 02/16/2017
TYRELL ANDERSON TERMINATED: 02/16/2017
ROBERT BUGGS TERMINATED: 02/16/2017
MARY FELTON TERMINATED: 02/16/2017
PAULA NALLS TERMINATED: 02/16/2017
FREDDIE MCMILLION
SYLVESTER GREEN
UNKNOWN SUPERVISORS AND UNKNOWN
 BOARD MEMBERS TERMINATED: 02/16/2017
GARY PUBLIC LIBRARY

        Defendant(s)

                                     JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

☐ the Plaintiff(s),                                                               recover from the
Defendant(s)                                                                           damages in the
amount of                                             , plus post-judgment interest at the rate of    %

☐ the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff                                              .

X Other: Judgment is entered in favor of Defendants, Diana Morrow, Freddie McMillion,
Sylvester Green, and Gary Public Library and against Plaintiff, Perry Gordon.
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This action was (check one):

☐ tried to a jury with Judge
presiding, and the jury has rendered a verdict.

☐ tried by Judge
without a jury and the above decision was reached.

X decided by Judge Joseph S. Van Bokkelen
DATE:           May 7, 2018                          ROBERT TRGOVICH, CLERK OF COURT
                                                     by   /s/Jason Schrader
                                                          Signature of Clerk or Deputy Clerk
